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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA

         Plaintiff

               v.                         Criminal No. 11-cr-45-14(RAM)
 JOE CORVETTE GONZÁLEZ-CARRO

         Defendant.


                             OPINION AND ORDER

     This matter comes before the Court on Defendant Joe Corvette

González-Carro’s      (“Defendant”   or   “González-Carro”)     Notice    of

Appeal entered on the docket on September 29, 2020, the United

States Court of Appeals for the First Circuit’s October 27, 2020

Order,   and    Mr.   González-Carro’s    April   27,   2021   motion    and

affidavit. (Dockets Nos. 2090, 2097 and 2237). For reasons set out

below, the Court extends the time to appeal and retroactively deems

Defendant’s September 29, 2020 Notice of Appeal at Docket No. 2090

to be timely filed.

                                I.   BACKGROUND

     On September 1, 2020, the late Honorable Juan M. Pérez-Gimenez

denied Mr. Gonzaléz-Carro’s Motion for Compassionate Release filed

at Docket No. 2048. (Docket No. 2079). Mr. González-Carro filed

his Notice of Appeal from this order on September 29, 2020. (Docket

No. 2090).
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     On October 27, 2020, the First Circuit issued an order

directing the District Court to rule on whether it would enlarge

the time for filing an appeal and consider the notice of appeal

timely filed. (Docket No. 2097). The case was transferred to the

undersigned upon Judge Pérez-Giménez’s passing. (Docket No. 2110).

On January 15, 2021, the Court issued an order to Mr. González-

Carro directing him to explain why the circumstances surrounding

his late filing of the Notice of Appeal amount to excusable neglect

or good cause justifying an extension of time to file the notice.

(Docket No. 2126). After several extensions of time, Mr. González-

Carro complied with this Court’s order on April 27, 2021. (Docket

Nos. 2196, 2199, 2225 and 2237).

     In his April 27, 2021 motion and affidavit Mr. González-Carro

explains the circumstances surrounding his late filing of the

notice of appeal. (Docket No. 2237). He posits that FCI Yazoo, the

institution where he is being held, imposed controls on inmate

movement in response to the COVID-19 pandemic. Id. at 1. The

controls meant that inmates had to sign up to visit the law

library, and they could only visit it once a week for forty-five

(45) minutes. Id. at 1-2. Moreover, Mr. González-Carro is not

fluent in English and relies on others for help. Id. at 2.

     The Government has not opposed Mr. González-Carro’s motion.
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                            II.    APPLICABLE LAW

     Rule 4(b)(4) of the Federal Rules of Appellate Procedure

provides that the time to appeal may be extended upon a showing of

excusable neglect or good cause. It provides as follows:

     Upon a finding of excusable neglect or good cause, the
     district court may--before or after the time has
     expired, with or without motion and notice--extend the
     time to file a notice of appeal for a period not to
     exceed 30 days from the expiration of the time otherwise
     prescribed by this Rule 4(b).

Fed. R. App. P.4(b)(4).

     Here, Mr. González-Carro filed his notice of appeal past the

14-day term provided by Fed. R. App. 4(b)(1)(A) but within the 30-

day term under which the Court may consider enlarging the time to

appeal upon a showing of good cause or excusable neglect. See Fed.

R. App. P.4(b)(4).

     The First Circuit has held that “good cause” exists where

“the putative appellant’s tardiness in filing a notice of appeal

resulted entirely from external causes.” Mirpuri v. ACT Mfg., Inc.,

212 F.3d 624, 630 (1st Cir. 2000) (citing Scarpa v. Murphy, 782

F.2d 300 (1st 1986)). This because “[i]n such a situation, there

is no neglect (and, thus, nothing to excuse).” Id. Where no such

forces exist, then an extension of time can only be justified by

a showing of excusable neglect. Id.

     The finding of whether “excusable neglect” exists is “at

bottom   an   equitable   one,    taking   into   account   all   relevant
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circumstances surrounding a party’s omission.” Virella-Nieves v.

Briggs   &   Stratton   Corp.,   53   F.3d   451,   454   (1st   Cir.   1995)

(quotation omitted); see also Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. Partnership, 507 U.S. 380, 395 (1993). This analysis

requires consideration of the following non-exhaustive factors

identified by the United States Supreme Court in Pioneer: “[1] the

danger of prejudice to the [opposing party], [2] the length of

the delay and its potential impact on judicial proceedings, [3]

the reason for the delay, including whether it was within the

reasonable control of the movant, and [4] whether the movant acted

in good faith.” Tubens v. Doe, 976 F.3d 101, 105 (1st Cir. 2020)

(quoting Pioneer, 507 U.S. at 395).

     The First Circuit’s Order at Docket No. 2097 directed this

Court to consider Mr. González-Carro’s Notice of Appeal in light

of the United States Court of Appeals for the Second Circuit’s

Opinion in United States v. Batista. See United States v. Batista,

22 F.3d 492 (2nd Cir. 1994). In Batista, the Second Circuit held

that where a criminal defendant files the notice of appeal past

the Fed. R. App. 4(b) deadline, but before the thirty days afforded

by the rule to request an extension have elapsed, “the district

court should treat the notice of appeal as a request for an

extension.” Id. at 493. The Second Circuit also noted therein that

allowing the district court to receive the putative appellant’s
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proffer of excusable neglect at a later point “does no violence to

the letter or spirit of Rule 4(b).” Id.

                                 III. ANALYSIS

     The preparation of a notice of appeal is not a “complicated

or onerous task.” United States v. Salcedo, 2006 WL 1549058 (D.R.I.

2006) (declining to find excusable neglect); Fed. R. App. 3(c)

(prescribing the contents of a notice of appeal). Nevertheless,

considering the totality of the circumstances and the Pioneer

factors,   the   Court   finds   that   Mr.   González-Carro   has     shown

excusable neglect and his notice of appeal should be deemed as

timely filed. The Court addresses each factor briefly.

     The danger of prejudice to the non-movant. Even considering

Mr. González-Carro’s motion is unopposed, the Court finds that his

brief delay causes no prejudice to the Government.

     The length of the delay. The envelope carrying Mr. González-

Carro’s Notice of Appeal is post-marked September 23, 2021, that

is eight (8) days after the Fed. R. App. 4(b) deadline elapsed but

well within the 30-day extension that Fed. R. 4(b)(4) allows. See

United States v. Washington, 2020 WL 7643098 (D. Wash. 2020)

(finding excusable neglect given pro-se litigant’s 7-day delay,

among other factors); United States v. Young, 2017 WL 6337462, at

*1 (M.D. Ala. 2017) (holding that even though an inmate’s motion

had been docketed a day after the 30-day deadline, his motion was

timely because it was signed and dated prior to the 30-day term).
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       The reason for the delay. Mr. González-Carro is a pro-se

litigant serving a sentence of imprisonment. He is not fluent in

English. (Docket Nos. 939 ¶ 86; 2237 at 2). Moreover, he depends

on others and was subject to restrictions on the use of the law

library due to the COVID-19 pandemic. (Docket No. 2237 at 2). These

reasons justify his delay in filing the Notice of Appeal. See also

Washington, 2020 WL 7643098, at *1 (considering, in the excusable

neglect analysis, whether Defendant may have had limited access to

counsel and to the law library due to the COVID-19 pandemic).

Further, the Court also takes into consideration the fact that

pro-se inmate litigants are limited in their ability to monitor

the processing of their appeal. See e.g., Houston v. Lack, 487

U.S. 266, 270-71 (1998); Oliver v. Comm'r of Massachusetts Dep't

of Corr., 30 F.3d 270, 272 (1st Cir. 1994) (explaining that a “pro

se prisoner has no choice but to entrust the forwarding of his

notice of appeal to prison authorities whom he cannot control or

supervise and who may have every incentive to delay.”) (quotation

omitted); Mayne v. Hall, 122 F. Supp. 2d 86, 95–96 (D. Mass. 2000)

(comparing an incarcerated litigant to a non-incarcerated one and

stating that “[w]hereas a pro se prisoner has               no choice but to

rely   on   prison   authorities    and    the    postal    service,   a   non-

incarcerated litigant can monitor the delivery of his filing and

voluntarily    choose   to   rely   on    the    postal    service   for   such

delivery.”) (citing Houston, 487 at 271).
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      Whether the defendant acted in good faith. There is no reason

to believe Mr. González-Carro acted in bad-faith. His responses to

the   Court’s   various    orders   evince   a   consistent   interest   in

preserving his right to appeal even though they were ostensibly

delayed by the mail and hindered by the language barrier.

                                VI. CONCLUSION

      For the foregoing reasons, the Court extends the time to

appeal   and    retroactively       deems    Defendant   Gonzalez-Carro’s

September 29, 2020 Notice of Appeal at Docket No. 2090 to be timely

filed. See Batista, 22 F.3d at 494 (“If the district court decides

to grant an appropriate extension then the notice of appeal will

become effective nunc pro tunc.”).

      The Clerk of the Court shall send a copy of this order to the

United States Court of Appeals for the First Circuit and to Mr.

González-Carro at:

                          JOE CORVETTE GONZALEZ-CARRO
                                 REG. 43226-069
                                 Yazoo City Low
                                  P.O. Box 5000
                              Yazoo City, MS 39194

      IT IS SO ORDERED.

      San Juan, Puerto Rico, this 12th day of May 2021.


                                      S/ RAUL M. ARIAS-MARXUACH
                                     UNITED STATES DISTRICT JUDGE
